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                           UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 CITIBANK, N.A.,                                  CASE NO.: _________________

                Petitioner,                       JUDGE: ___________________

 v.

 MARVIN L. PARMS,

                Respondent.


        PETITION AND APPLICATION TO CONFIRM ARBITRATION AWARD
_____________________________________________________________________________________
        Petitioner Citibank, N.A. (“Citibank”), pursuant to Section 9 of the Federal Arbitration

Act, 9 U.S.C. § 9, respectfully requests confirmation of an American Arbitration Association

(“AAA”) arbitration award (“Arbitration Award”) entered by Arbitrator Michael J. Borden on

December 23, 2022, in favor of Respondent Marvin L. Parms (“Parms”), a copy of which is

attached as Exhibit 1.

                          PARTIES, JURISDICTION, AND VENUE

        1.     This action seeks confirmation of the Arbitration Award issued by an AAA

arbitrator.

        2.     Citibank is a national banking association organized and exhibits under the laws of

the State of South Dakota, with a principal place of business in Sioux Falls, South Dakota.

        3.     Parms is an individual who at all times relevant to the events giving rise to this

action resided in the State of Ohio.
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        4.         This Court has jurisdiction pursuant to 9 U.S.C. § 9 and 28 U.S.C. § 1332 because

diversity of citizenship exists between Citibank and Parms and because the amount in controversy,

exclusive of interest and costs, exceeds the sum of $ 75,000.00.

        5.         Pursuant to Section 9 of the Federal Arbitration Act, 9 U.S.C. § 9, Citibank may

apply to this Court for an order confirming the Arbitration Award and this Court must confirm the

Arbitration Award unless the Arbitration Award is vacated, modified, or corrected as prescribed

in the Federal Arbitration Act, 9 U.S.C. §§ 10 and 11.

        6.         Parms made an untimely request to modify the Arbitration Award but there are no

grounds to vacate, modify, or correct the Arbitration Award.

        7.         Venue is proper in this district under 9 U.S.C. § 9 because the arbitration was

conducted, and the Arbitration Award was rendered in, this District. Alternatively, venue is proper

in this District per 28 U.S.C. §1391 because a substantial part of the events giving rise to the claim

occurred in this District.

        8.         Per the Arbitration Award, the issues in the underlying arbitration were subject to

arbitration under the Agreement attached as Exhibit 2 and the Agreement attached as Exhibit 3.

                                 NATURE OF THE PROCEEDING

        9.         The parties waived oral hearings and the arbitration was submitted on the

documents.

        10.        On December 23, 2022, the Arbitration Award was duly entered in connection with

the arbitration.

        11.        The Arbitration Award awarded Parms the sum of $280.78. Exhibit 1. Parms had

requested an award of $1,100,000.00. Exhibit 4.

        12.        Citibank satisfied the Arbitration Award. Exhibit 5.

                                                    2
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        13.     Petitioner is entitled to confirmation of the Arbitration Award and entry of final

judgment in conformity with the Arbitration Award, pursuant to 9 U.S.C. § 9, which provides that

a “court must grant such an order unless the award is vacated, modified, or corrected.”

        14.     The Arbitration Award is final and binding.

        15.     For these reasons, the Arbitration Award is ripe for summary proceedings to

confirm the award.

        16.     Citibank requests a final judgment confirming and adopting the Arbitration Award

in its totality, including entry of injunctive relief.

        WHEREFORE, Citibank, N.A. respectfully requests that this Court confirm the

Arbitration Award in conformity with the Arbitration Award, and such other relief as the Court

may deem property.


                                                         Respectfully submitted,

                                                         /s/ Shannon O’Connell Egan
                                                         Shannon O’Connell Egan (0097614)
                                                         Harry W. Cappel (0066513)
                                                         DINSMORE & SHOHL LLP
                                                         255 East Fifth Street, Suite 1900
                                                         Cincinnati, Ohio 45202
                                                         Tel: (513) 977-8261
                                                         Fax: (513) 977-8141
                                                         Email: shannon.egan@dinsmore.com
                                                                 harry.cappel@dinsmore.com
                                                         Counsel for Petitioner Citibank, N.A.


Dated: February 24, 2023




                                                     3
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                                                                               Exhibit

                                  AMERICAN ARBITRATION ASSOCIATION
                                                                                                           1


 In the Matter of the Arbitration between

 Case Number: 01-21-0017-6088

 Marvin Parms (Claimant)
 -vs-
 Citibank (Respondent)


                                            AWARD OF ARBITRATOR

 I, Michael J. Borden, THE UNDERSIGNED ARBITRATOR, having been designated in accordance with the
 arbitration agreement entered into by the above-named parties, and having been duly sworn, and oral hearings
 having been waived in accordance with the Rules, and having fully reviewed and considered the written
 documents submitted to me by the parties, Claimant appearing pro se and Respondent represented by counsel, do
 hereby, AWARD, as follows:

    1. 1.       CLAIMANT is hereby awarded the sum of $280.78 (two hundred eighty dollars and seventy-eight
       cents) in damages.

    1. 2.       Concise Reasons:

         After thorough review of the voluminous record in this case, I find as follows. Claimant has two credit
accounts with Respondent (the 4853 account and the 8247 account). Claimant erred by making his October 4, 2021
payment to the wrong account. Claimant reasonably and promptly called Respondent to try to sort out the mistake.
What followed was a series of phone calls marked by misunderstandings that must have been frustrating to both
sides, during which Claimant tried unsuccessfully to have his October 4, 2021 payment applied to the 4853 account.

         Based on my careful review of the customer service phone calls, I conclude that Respondent did not provide
a “clear and easy way” for Claimant to sort out his error during the long phone calls on October 19, 2021 and
November 20, 2021.

         Respondent’s submissions establish that by the end of November 2021, Respondent did, however, remove
the late fee and interest charges that arose from the error. This accommodation did not, however, remove the harm
Claimant suffered from (i) the reduction in his credit limit with Respondent, and (ii) the credit reporting that appears
to have resulted in Claimant’s credit score being reduced from 784 in November 2021 to 698 (or 673) in December
2021.

        This AWARD compensates Claimant for that harm.

    1. 3.      The administrative fees of the American Arbitration Association (AAA) totaling $1,900.00 shall be
       borne as incurred, and the compensation of the arbitrator totaling $1,500.00 shall be borne as incurred.

    1. 4.       The above sums are to be paid on or before 30 days from the date of this Award.

    1. 5.      This Award is in full settlement of all claims submitted to this Arbitration. All claims not
       expressly granted herein are hereby denied.



 ____December 23, 2022                                              ________/s/ Michael J. Borden
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Date                                      Michael J. Borden, Arbitrator
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                                                                  Exhibit
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QLMV\QNa _PQKP X]ZKPI[M[ IZM MTQOQJTM NWZ \PQ[ XTIV( EPM ZM'
UIQVQVO JITIVKM WN IVa -1 UWV\P ZML]KML ZI\M KZMLQ\ XTIV
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LI\M M^MZa JQTTQVO KaKTM( <N aW] LW VW\& aW] _QTT VW\ OM\ I OZIKM
XMZQWL ]V\QT aW] XIa \PM @M_ 6ITIVKM NWZ \_W JQTTQVO KaKTM[
QV I ZW_(
<N aW] PI^M I JITIVKM []JRMK\ \W I LMNMZZML QV\MZM[\ XZWUW\QWV
WZ QN aW]Z [\I\MUMV\ [PW_[ I GIQ^ML <V\MZM[\ 7PIZOM XZWUW'
\QWV IVL \PI\ XZWUW\QWV LWM[ VW\ M`XQZM JMNWZM \PM XIaUMV\
L]M LI\M& \PI\ JITIVKM $IV cM`KT]LML JITIVKMe% Q[ M`KT]LML
NZWU \PM IUW]V\ aW] U][\ XIa QV N]TT \W OM\ I OZIKM XMZQWL
WV I X]ZKPI[M JITIVKM W\PMZ \PIV IV M`KT]LML JITIVKM( <V
ILLQ\QWV& QN aW] PI^M I ZML]KML ZI\M KZMLQ\ XTIV JITIVKM& \PI\
JITIVKM $IV cM`KT]LML JITIVKMe% Q[ M`KT]LML NZWU \PM IUW]V\
aW] U][\ XIa QV N]TT \W OM\ I OZIKM XMZQWL WV I X]ZKPI[M
JITIVKM W\PMZ \PIV IV M`KT]LML JITIVKM( ;W_M^MZ& aW] U][\
[\QTT XIa IVa [MXIZI\MTa ZMY]QZML XIaUMV\ WV \PM M`KT]LML
JITIVKM( <V JQTTQVO KaKTM[ QV _PQKP XIaUMV\[ IZM ITTWKI\ML \W
LMNMZZML QV\MZM[\ JITIVKM[ NQZ[\& \PM LMNMZZML QV\MZM[\ JITIVKM
_QTT JM ZML]KML JMNWZM IVa W\PMZ JITIVKM WV \PM IKKW]V\(
;W_M^MZ& aW] _QTT KWV\QV]M \W OM\ I OZIKM XMZQWL WV X]Z'
KPI[M[& W\PMZ \PIV IV M`KT]LML JITIVKM& [W TWVO I[ aW] XIa
\PM @M_ 6ITIVKM $TM[[ IVa M`KT]LML JITIVKM& XT][ IVa [MXI'
ZI\MTa ZMY]QZML XIaUMV\ WV IV M`KT]LML JITIVKM% QV N]TT Ja
\PM XIaUMV\ L]M LI\M MIKP JQTTQVO KaKTM( <V ILLQ\QWV& KMZ\IQV
XZWUW\QWVIT WNNMZ[ VW\ LM[KZQJML IJW^M UIa IT[W ITTW_ aW]
\W PI^M I OZIKM XMZQWL WV X]ZKPI[M[ _Q\PW]\ PI^QVO \W XIa ITT
WZ I XWZ\QWV WN \PM XZWUW\QWVIT JITIVKM Ja \PM XIaUMV\ L]M
LI\M( <N \PI\ Q[ \PM KI[M& \PM XZWUW\QWVIT WNNMZ _QTT LM[KZQJM
_PI\ PIXXMV[(
)=H?QH=PEKJ KB /JPANAOP )D=NCAO W *=EHU (=H=J?A 2APDK@
!/J?HQ@EJC )QNNAJP 8N=JO=?PEKJO"% GM KITK]TI\M QV\MZM[\
KPIZOM[ MIKP JQTTQVO KaKTM( EW LW \PQ[3
     d GM [\IZ\ _Q\P MIKP WN aW]Z LQNNMZMV\ JITIVKM[( EPM[M
       JITIVKM[ QVKT]LM& NWZ M`IUXTM& ZMO]TIZ X]ZKPI[M[& ZMO]'
       TIZ KI[P IL^IVKM[& IVL LQNNMZMV\ XZWUW\QWVIT JITIVKM[(
       $GPMV _M KITK]TI\M QV\MZM[\ KPIZOM[& _M \ZMI\ MIKP
       LMNMZZML QV\MZM[\ \ZIV[IK\QWV [MXIZI\MTa M^MV QN Q\ PI[ \PM
       [IUM \MZU[ I[ IVW\PMZ LMNMZZML QV\MZM[\ \ZIV[IK\QWV(%
     d GM KITK]TI\M \PM LIQTa JITIVKM NWZ MIKP WN aW]Z LQNNMZMV\
       JITIVKM[( EW OM\ I LIQTa JITIVKM& _M [\IZ\ _Q\P \PM JIT'
       IVKM I[ WN \PM MVL WN \PM XZM^QW][ LIa( GM ILL IVa
       QV\MZM[\ KPIZOM WV \PM XZM^QW][ LIa#[ JITIVKM( $EPQ[
                                                               '
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      ZM[]T\[ QV LIQTa KWUXW]VLQVO WN QV\MZM[\ KPIZOM[(% GM
      ILL IVa VM_ KPIZOM[( GM \PMV []J\ZIK\ IVa VM_ KZMLQ\[
      WZ XIaUMV\[(
    d GM U]T\QXTa MIKP LIQTa JITIVKM Ja \PM LIQTa XMZQWLQK ZI\M
      \PI\ IXXTQM[ \W Q\( GM LW \PQ[ NWZ MIKP LIa QV \PM JQTTQVO
      KaKTM( EPQ[ OQ^M[ ][ \PM LIQTa QV\MZM[\ KPIZOM[ NWZ MIKP WN
      aW]Z LQNNMZMV\ JITIVKM[(
    d GM ILL ]X ITT \PM LIQTa QV\MZM[\ KPIZOM[( EPM []U Q[ \PM
      \W\IT QV\MZM[\ KPIZOM NWZ \PM JQTTQVO KaKTM(
    d HW] I]\PWZQbM ][ \W ZW]VL QV\MZM[\ KPIZOM[ \W \PM VMIZM[\
      KMV\(
GPMV _M KITK]TI\M LIQTa JITIVKM[& _M ILL I X]ZKPI[M& JIT'
IVKM \ZIV[NMZ& WZ KI[P IL^IVKM I[ WN \PM EZIV[IK\QWV 8I\M(
$EPM EZIV[IK\QWV 8I\M NWZ I JITIVKM \ZIV[NMZ WZ KI[P IL^IVKM
Q[ \PM LI\M _M OM\ I ZMY]M[\ \W KWUXTM\M I \ZIV[IK\QWV( GPMV
aW] [MVL I KWV^MVQMVKM KPMKS LQZMK\Ta \W [WUMWVM& \PM
EZIV[IK\QWV 8I\M Q[ \PM LI\M _M ZMKMQ^M \PM KPMKS NWZ XIa'
UMV\( EPM EZIV[IK\QWV 8I\M Q[ WV \PM JQTTQVO [\I\MUMV\(% GM
ILL I \ZIV[IK\QWV NMM \W \PM [IUM JITIVKM I[ \PM \ZIV[IK\QWV(
GM OMVMZITTa ILL W\PMZ NMM[ \W \PM ZMO]TIZ X]ZKPI[M JITIVKM(
GM ILL IVa ZMUIQVQVO JITIVKM NZWU I JITIVKM \ZIV[NMZ I\ I
XZWUW\QWVIT 5BC \W \PM ZMO]TIZ X]ZKPI[M JITIVKM( GM LW \PQ[
WV \PM LIa IN\MZ \PM XZWUW\QWVIT XMZQWL M`XQZM[( GM []J\ZIK\
I XIaUMV\ WZ KZMLQ\ I[ WN \PM LIa Q\ Q[ KZMLQ\ML \W \PM IKKW]V\
IVL \PMV UISM W\PMZ ILR][\UMV\[( GM \ZMI\ I KZMLQ\ JITIVKM
I[ I JITIVKM WN bMZW(
2EJEIQI /JPANAOP )D=NCA% <N _M KPIZOM aW] QV\MZM[\& \PM
D]XXTMUMV\ [PW_[ \PM UQVQU]U IUW]V\ _M _QTT KPIZOM( GM
ILL \PM KPIZOM \W \PM ZMO]TIZ X]ZKPI[M JITIVKM WZ ITTWKI\M Q\
IUWVO WVM WZ UWZM WN \PM JITIVKM[ \PI\ IKKZ]M[ QV\MZM[\(
(=H=J?A 7Q>FA?P PK /JPANAOP 6=PA% HW]Z [\I\MUMV\ [PW_[ I
6ITIVKM D]JRMK\ \W <V\MZM[\ CI\M( <\ [PW_[ \PQ[ NWZ MIKP LQNNMZ'
MV\ JITIVKM( EPM 6ITIVKM D]JRMK\ \W <V\MZM[\ CI\M Q[ \PM I^MZ'
IOM WN \PM LIQTa JITIVKM[ L]ZQVO \PM JQTTQVO KaKTM( 5 JQTTQVO
KaKTM JMOQV[ WV \PM LIa IN\MZ \PM D\I\MUMV\ 7TW[QVO 8I\M WN
\PM XZM^QW][ JQTTQVO KaKTM( <\ QVKT]LM[ \PM D\I\MUMV\ 7TW[QVO
8I\M WN \PM K]ZZMV\ JQTTQVO KaKTM(
                             .==H
'JJQ=H 2AI>ANODEL ,AA% <N IV IVV]IT UMUJMZ[PQX NMM
IXXTQM[& \PM D]XXTMUMV\ [PW_[ Q\( GM _QTT ZMN]VL \PQ[ NMM
QN aW] VW\QNa ][ \PI\ aW] IZM KTW[QVO aW]Z IKKW]V\ _Q\PQV
,) LIa[ WN \PM UIQTQVO WZ LMTQ^MZa LI\M WN \PM JQTTQVO [\I\M'
UMV\ WV _PQKP \PM NMM IXXMIZ[( EPM NMM Q[ W\PMZ_Q[M VWV'
ZMN]VLIJTM( GM ILL \PQ[ NMM \W \PM ZMO]TIZ X]ZKPI[M JITIVKM(
8N=JO=?PEKJ ,AA BKN )=OD '@R=J?AO% HW] \ISM I KI[P IL'
^IVKM QN aW] ][M I KI[P IL^IVKM KWV^MVQMVKM KPMKS4 OM\
UWVMa \PZW]OP IV I]\WUI\ML \MTTMZ UIKPQVM $5E?%4 WZ OM\
UWVMa \PZW]OP PWUM JIVSQVO WZ I NQVIVKQIT QV[\Q\]\QWV( HW]
                                                              (
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IT[W \ISM I KI[P IL^IVKM QN aW] UISM I _QZM \ZIV[NMZ4 J]a I
UWVMa WZLMZ& \ZI^MTMZ#[ KPMKS& TW\\MZa \QKSM\& KI[QVW KPQX& WZ
[QUQTIZ Q\MU4 WZ MVOIOM QV I [QUQTIZ \ZIV[IK\QWV( :WZ MIKP KI[P
IL^IVKM _M ILL I \ZIV[IK\QWV NMM WN ." WN \PM IUW]V\ WN \PM
KI[P IL^IVKM& J]\ VW\ TM[[ \PIV !*)(
8N=JO=?PEKJ ,AA BKN (=H=J?A 8N=JOBANO% HW] UISM I JITIVKM
\ZIV[NMZ QN aW] ][M I JITIVKM \ZIV[NMZ KWV^MVQMVKM KPMKS WZ
KWV\IK\ ][ \W \ZIV[NMZ I JITIVKM( :WZ MIKP JITIVKM \ZIV[NMZ
_M ILL I \ZIV[IK\QWV NMM WN ." WN \PM IUW]V\ WN \PM JITIVKM
\ZIV[NMZ& J]\ VW\ TM[[ \PIV !*.( EPQ[ NMM Q[ QV ILLQ\QWV \W IVa
XMZQWLQK NMM \PI\ UIa JM QUXW[ML _Q\P I XZWUW\QWVIT WNNMZ(
1=PA ,AA% GM UIa ILL I TI\M NMM NWZ MIKP JQTTQVO KaKTM QV
_PQKP aW] PI^M I XI[\ L]M XIaUMV\( :WZ TI\M NMM X]ZXW[M[&
aW] PI^M I XI[\ L]M XIaUMV\ IVa \QUM aW] NIQT \W XIa \PM
?QVQU]U BIaUMV\ 8]M $TM[[ \PM 5UW]V\ A^MZ 7ZMLQ\ >QUQ\
[PW_V WV aW]Z JQTTQVO [\I\MUMV\% Ja \PM XIaUMV\ L]M LI\M(
EPM NMM _QTT JM !+.4 WZ !,. NWZ IVa ILLQ\QWVIT XI[\ L]M XIa'
UMV\ L]ZQVO \PM VM`\ [Q` JQTTQVO KaKTM[ IN\MZ I XI[\ L]M XIa'
UMV\( ;W_M^MZ& \PM NMM _QTT VW\ M`KMML \PM IUW]V\ XMZUQ\\ML
Ja TI_( GM ILL \PQ[ NMM \W \PM ZMO]TIZ X]ZKPI[M JITIVKM(
6APQNJA@ 5=UIAJP ,AA% GM UIa ILL I ZM\]ZVML XIaUMV\ NMM
NWZ I ZM\]ZVML XIaUMV\( 5 ZM\]ZVML XIaUMV\ Q[ IV MTMK\ZWVQK
LMJQ\& XIaUMV\ KPMKS& WZ [QUQTIZ XIaUMV\ QV[\Z]UMV\& \PI\
Q[ ZM\]ZVML ]VXIQL( GM UIa ILL \PQ[ NMM \PM NQZ[\ \QUM aW]Z
XIaUMV\ Q[ ZM\]ZVML& M^MV QN Q\ Q[ VW\ ZM\]ZVML ]XWV ZM[]JUQ['
[QWV( EPM NMM _QTT JM !+. NWZ IVa ZM\]ZVML XIaUMV\( ;W_M^MZ&
\PM NMM _QTT VW\ M`KMML \PM IUW]V\ XMZUQ\\ML Ja TI_( GM ILL
\PQ[ NMM \W \PM ZMO]TIZ X]ZKPI[M JITIVKM(
7PKL 5=UIAJP KJ )KJRAJEAJ?A )DA?G ,AA% GM ILL I !+2 NMM
QN _M PWVWZ aW]Z ZMY]M[\ \W [\WX XIaUMV\ WV I KWV^MVQMVKM
KPMKS( GZQ\M ][ I\ B(A( 6W` /)))& DQW]` :ITT[& D8 .0**0 \W
[\WX XIaUMV\ WV I KWV^MVQMVKM KPMKS( HW] KIV IT[W KITT \PM
7][\WUMZ DMZ^QKM V]UJMZ WV \PM JQTTQVO [\I\MUMV\( <N aW] KITT&
aW] U][\ KWVNQZU \PM KITT QV _ZQ\QVO _Q\PQV *- LIa[( 5 _ZQ\\MV
[\WX XIaUMV\ WZLMZ Q[ OWWL NWZ / UWV\P[ ]VTM[[ ZMVM_ML QV
_ZQ\QVO( GM ILL \PQ[ NMM \W \PM ZMO]TIZ X]ZKPI[M JITIVKM(
 /D>EGC:IAED ED .EG=A?D ,JGG=D;L ,EDK=GHAED
A]Z VM\_WZS XZW^QLMZ Q[ ?I[\MZ7IZL( ?I[\MZ7IZL KWV^MZ\[
\ZIV[IK\QWV[ QV NWZMQOV K]ZZMVKQM[ QV\W F(D( LWTTIZ[(
?I[\MZ7IZL NWTTW_[ Q\[ W_V XZWKML]ZM[ \W LW [W( EPM[M
UIa KPIVOM NZWU \QUM \W \QUM _Q\PW]\ VW\QKM( 7]ZZMV\Ta&
?I[\MZ7IZL ][M[ I KWV^MZ[QWV ZI\M QV MNNMK\ WVM LIa JMNWZM
Q\[ \ZIV[IK\QWV XZWKM[[QVO LI\M( <\ ][M[ I OW^MZVUMV\'
UIVLI\ML ZI\M QN ZMY]QZML \W LW [W( <N VW\& Q\ ][M[ I _PWTM[ITM
UIZSM\ ZI\M( 5 \PQZL XIZ\a UIa KWV^MZ\ I \ZIV[IK\QWV QV\W F(D(
LWTTIZ[ WZ IVW\PMZ K]ZZMVKa JMNWZM [MVLQVO Q\ \W ?I[\MZ7IZL(
<V \PM[M KI[M[& \PM \PQZL XIZ\a [MTMK\[ \PM KWV^MZ[QWV ZI\M(
<V ITT KI[M[& \PM KWV^MZ[QWV ZI\M aW] OM\ Q[ \PM WVM ][ML WV
\PM \ZIV[IK\QWV#[ XZWKM[[QVO LI\M( EPQ[ UIa JM LQNNMZMV\ NZWU
                                                             )
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\PM WVM QV MNNMK\ WV \PM EZIV[IK\QWV 8I\M WZ XW[\ LI\M NWZ
\PM \ZIV[IK\QWV(
                         4:LC=DIH
2=GEJC 5=UIAJPO% HW] UIa XIa ITT WZ XIZ\ WN aW]Z IKKW]V\
JITIVKM I\ IVa \QUM( ;W_M^MZ& aW] U][\ XIa I\ TMI[\ \PM
?QVQU]U BIaUMV\ 8]M Ja \PM XIaUMV\ L]M LI\M MIKP JQTTQVO
KaKTM( EPM [WWVMZ aW] XIa \PM @M_ 6ITIVKM& \PM TM[[ aW] _QTT
XIa QV QV\MZM[\ KPIZOM[(
EW KITK]TI\M \PM ?QVQU]U BIaUMV\ 8]M& _M JMOQV _Q\P IVa
XI[\ L]M IUW]V\( GM ILL IVa IUW]V\ QV M`KM[[ WN aW]Z KZML'
Q\ TQUQ\( GM ILL \PM IUW]V\ L]M WV MIKP ZML]KML ZI\M KZMLQ\
XTIV JITIVKM( GM ILL IVa ILLQ\QWVIT IUW]V\ [XMKQNQML QV I
XZWUW\QWVIT WNNMZ( GM ILL IVa IUW]V\ ZMY]QZML Ja \PM BZW'
UW\QWV 7ITK]TI\QWV( GM IT[W ILL \PM TIZOM[\ WN \PM NWTTW_QVO3
     d EPM 7ITK]TI\ML @M_ 6ITIVKM QN Q\ Q[ TM[[ \PIV !+.4
     d !+. QN \PM 7ITK]TI\ML @M_ 6ITIVKM Q[ I\ TMI[\ !+.4 WZ
     d *" WN \PM 7ITK]TI\ML @M_ 6ITIVKM XT][ \PM IUW]V\ WN
       aW]Z JQTTML QV\MZM[\ KPIZOM[ WV \PI\ JITIVKM& IVa UQVQ'
       U]U QV\MZM[\ KPIZOM ITTWKI\ML \W \PI\ JITIVKM& IVL IVa
       IXXTQKIJTM TI\M NMM $\PM ZM[]T\ Q[ ZW]VLML ]X \W \PM VMIZ'
       M[\ LWTTIZ%( ;W_M^MZ& _M []J\ZIK\ QV\MZM[\ KPIZOM[ \PI\
       IKKZ]ML L]ZQVO XZQWZ JQTTQVO KaKTM[ WV I LMNMZZML QV\MZM[\
       JITIVKM \PI\ MVLML L]ZQVO \PM JQTTQVO KaKTM KW^MZML Ja
       \PM [\I\MUMV\(
EPM 7ITK]TI\ML @M_ 6ITIVKM MY]IT[ \PM @M_ 6ITIVKM WV \PM
JQTTQVO [\I\MUMV\ TM[[ IVa JITIVKM[ []JRMK\ \W I ZML]KML ZI\M
KZMLQ\ XTIV& \PM BZWUW\QWV 7ITK]TI\QWV& WZ \W MQ\PMZ WN \_W
\aXM[ WN XZWUW\QWVIT \MZU[( EPM NQZ[\ \aXM IZM \MZU[ \PI\ LW
VW\ ZMY]QZM I UQVQU]U XIaUMV\( EPM [MKWVL \aXM IZM \MZU[
\PI\ ZMY]QZM IV ILLQ\QWVIT IUW]V\ I[ XIZ\ WN \PM ?QVQU]U
BIaUMV\ 8]M(
EPM IUW]V\ L]M WV I ZML]KML ZI\M KZMLQ\ XTIV JITIVKM Q[ \PM
[UITTMZ WN3
     d EPM CMXIaUMV\ BMZKMV\IOM \QUM[ \PM ZML]KML ZI\M
       KZMLQ\ XTIV#[ ;QOPM[\ 6ITIVKM XT][ IVa KZMLQ\ XZW\MK\QWV
       WZ KZMLQ\ QV[]ZIVKM NMM ITTWKI\ML \W \PI\ JITIVKM( $EPM
       ZM[]T\ Q[ ZW]VLML ]X \W \PM VMIZM[\ LWTTIZ(% AZ
     d EPM ZML]KML ZI\M KZMLQ\ XTIV#[ JITIVKM WV \PM D\I\MUMV\
       7TW[QVO 8I\M(
:WZ MIKP ZML]KML ZI\M KZMLQ\ XTIV JITIVKM& \PM ;QOPM[\ 6IT'
IVKM Q[ \PM PQOPM[\ ZML]KML ZI\M KZMLQ\ XTIV JITIVKM WV I
D\I\MUMV\ 7TW[QVO 8I\M& TM[[ IVa KZMLQ\ XZW\MK\QWV WZ KZMLQ\
QV[]ZIVKM NMM ITTWKI\ML \W \PI\ JITIVKM NWZ \PI\ KaKTM& [QVKM
\PM TI[\ \QUM \PI\ JITIVKM _I[ bMZW( EPM JITIVKM Q[ bMZW I\
IKKW]V\ WXMVQVO( EPM CMXIaUMV\ BMZKMV\IOM NWZ \PM -1
UWV\P ZML]KML ZI\M KZMLQ\ XTIV Q[ +(/+1.)"(
:WZ IVa -1 UWV\P ZML]KML ZI\M KZMLQ\ XTIV MV\MZML QV\W XZQWZ
\W :MJZ]IZa *& +)*-& ]XWV M`XQZI\QWV IVa ZMUIQVQVO JITIVKM
Q[ ILLML \W \PM 7ITK]TI\ML @M_ 6ITIVKM(
                                                              *
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EPM BZWUW\QWV 7ITK]TI\QWV IXXTQM[ \W [WUM LMNMZZML QV\MZM[\
\ZIV[IK\QWV[ UILM WV WZ IN\MZ :MJZ]IZa *& +)*-( EPM BZWUW'
\QWV 7ITK]TI\QWV Q[ JI[ML WV \PM \ZIV[IK\QWV IUW]V\ I[ [PW_V
WV \PM NQZ[\ [\I\MUMV\ \PI\ LQ[XTIa[ \PM \ZIV[IK\QWV( <\ IXXTQM[
QN& XIaQVO !+. WV \PQ[ JITIVKM MIKP JQTTQVO KaKTM _W]TL ZM[]T\
QV ZMXIaUMV\ JMNWZM \PM MVL WN \PM XZWUW\QWV XMZQWL( EPM
BZWUW\QWV 7ITK]TI\QWV MY]IT[ *" WN \PQ[ JITIVKM L]ZQVO \PM
XZWUW\QWV XMZQWL( $EPM ZM[]T\ Q[ ZW]VLML ]X \W \PM VMIZM[\
KMV\(% EPM BZWUW\QWV 7ITK]TI\QWV WVTa IXXTQM[ L]ZQVO \PM XZW'
UW\QWV XMZQWL(
EPM ?QVQU]U BIaUMV\ 8]M UIa ZMNTMK\ ILR][\UMV\[ \W \PM
@M_ 6ITIVKM( EPM ?QVQU]U BIaUMV\ 8]M Q[ VM^MZ UWZM \PIV
\PM 7ITK]TI\ML @M_ 6ITIVKM XT][ \PZMM IUW]V\[( EPM NQZ[\ Q[
IVa IUW]V\ ZMY]QZML Ja I ZML]KML ZI\M KZMLQ\ XTIV( EPM [MK'
WVL Q[ IVa IUW]V\ ZMY]QZML Ja I XZWUW\QWVIT WNNMZ( EPM \PQZL
Q[ IVa IUW]V\ ZMY]QZML Ja \PM BZWUW\QWV 7ITK]TI\QWV(
'LLHE?=PEKJ KB 5=UIAJPO% BIaUMV\[ QV M`KM[[ WN \PM ?QVQ'
U]U BIaUMV\ 8]M IZM IXXTQML QV IKKWZLIVKM _Q\P TI_( EPQ[
UMIV[ \PI\ _M _QTT OMVMZITTa IXXTa XIaUMV\[ QV M`KM[[ WN \PM
?QVQU]U BIaUMV\ 8]M \W PQOPMZ 5BC JITIVKM[ NQZ[\( ;W_'
M^MZ& M`KM[[ XIaUMV\[ ZMKMQ^ML JMNWZM I LMNMZZML QV\MZM[\
XZWUW\QWV M`XQZM[ IZM IXXTQML \W \PM LMNMZZML QV\MZM[\ XZW'
UW\QWVIT JITIVKM NQZ[\ QV \PM TI[\ \_W JQTTQVO KaKTM[ WN \PM
XZWUW\QWVIT XMZQWL( 5VL& QN \PM M`XQZI\QWV LI\M WN I LMNMZZML
QV\MZM[\ XZWUW\QWV Q[ JMNWZM \PM XIaUMV\ L]M LI\M QV \PM
JQTTQVO KaKTM QV _PQKP \PM LMNMZZML QV\MZM[\ XZWUW\QWV M`XQZM[&
M`KM[[ XIaUMV\[ ZMKMQ^ML JMNWZM \PM LMNMZZML QV\MZM[\ XZW'
UW\QWV M`XQZM[ IZM IXXTQML \W \PM LMNMZZML QV\MZM[\ XZWUW'
\QWVIT JITIVKM NQZ[\ QV \PM TI[\ \PZMM JQTTQVO KaKTM[ WN \PM
XZWUW\QWVIT XMZQWL( BIaUMV\[ MY]IT \W WZ TM[[ \PIV \PM
?QVQU]U BIaUMV\ 8]M IVL KZMLQ\[ IZM IXXTQML I\ W]Z LQ['
KZM\QWV IVL aW] I]\PWZQbM ][ \W IXXTa XIaUMV\[ IVL KZMLQ\[
QV I _Ia \PI\ Q[ UW[\ NI^WZIJTM WZ KWV^MVQMV\ NWZ ][( EPQ[
UIa QVKT]LM IXXTaQVO []KP XIaUMV\[ IVL KZMLQ\[ \W TW_MZ
5BC JITIVKM[ NQZ[\(
5=UIAJP /JOPNQ?PEKJO% GM KZMLQ\ aW]Z XIaUMV\[ QV IKKWZ'
LIVKM _Q\P W]Z XIaUMV\ QV[\Z]K\QWV[ WV \PM JQTTQVO [\I\MUMV\(
HW] U][\ XIa ][ QV F(D( LWTTIZ[( EW LW [W& aW] U][\ ][M I
KPMKS& [QUQTIZ QV[\Z]UMV\& WZ MTMK\ZWVQK LMJQ\ \PI\ Q[ LZI_V WV
IVL PWVWZML Ja I JIVS QV \PM F(D( 8W VW\ [MVL KI[P( GM KIV
IKKMX\ TI\M WZ XIZ\QIT XIaUMV\[& WZ XIaUMV\[ \PI\ ZMNTMK\ cXIQL
QV N]TTe WZ W\PMZ ZM[\ZQK\Q^M MVLWZ[MUMV\[& _Q\PW]\ TW[QVO W]Z
ZQOP\[( GM IT[W ZM[MZ^M \PM ZQOP\ \W IKKMX\ XIaUMV\[ UILM QV
NWZMQOV K]ZZMVKa IVL QV[\Z]UMV\[ LZI_V WV N]VL[ WV LMXW[Q\
W]\[QLM \PM F(D( <N _M LW& _M [MTMK\ \PM K]ZZMVKa KWV^MZ[QWV
ZI\M( GM _QTT \PMV KZMLQ\ aW]Z IKKW]V\ QV F(D( LWTTIZ[ IN\MZ
LML]K\QVO IVa KW[\[ QVK]ZZML QV XZWKM[[QVO aW]Z XIaUMV\(
AZ _M UIa JQTT aW] [MXIZI\MTa NWZ \PM[M KW[\[(

                                                             +
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                     ,G=<AI 5=FEGIAD?
GM UIa ZMXWZ\ QVNWZUI\QWV IJW]\ aW]Z IKKW]V\ \W KZMLQ\
J]ZMI][( >I\M XIaUMV\[& UQ[[ML XIaUMV\[& WZ W\PMZ LMNI]T\[
WV aW]Z IKKW]V\ UIa JM ZMNTMK\ML QV aW]Z KZMLQ\ ZMXWZ\( GM
UIa ZMXWZ\ IKKW]V\ QVNWZUI\QWV QV aW]Z VIUM IVL \PM VIUM[
WN I]\PWZQbML ][MZ[( GM UIa IT[W WJ\IQV NWTTW_']X KZMLQ\
ZMXWZ\[ WV aW](
<N aW] \PQVS _M ZMXWZ\ML QVKWZZMK\ QVNWZUI\QWV \W I KZMLQ\
J]ZMI]& _ZQ\M ][ I\ \PM 7][\WUMZ DMZ^QKM ILLZM[[ WV \PM JQTT'
QVO [\I\MUMV\( GM _QTT QV^M[\QOI\M \PM UI\\MZ( GM _QTT \PMV \MTT
aW] QN _M IOZMM WZ LQ[IOZMM _Q\P aW]( <N _M IOZMM _Q\P aW]& _M
_QTT KWV\IK\ MIKP KZMLQ\ J]ZMI] \W _PQKP _M ZMXWZ\ML IVL ZM'
Y]M[\ I KWZZMK\QWV( <N _M LQ[IOZMM _Q\P aW]& _M _QTT \MTT aW] \PI\(
                  /D>EGC:IAED 6@:GAD?
HW] I]\PWZQbM ][ \W [PIZM QVNWZUI\QWV IJW]\ aW] I[ XMZUQ\'
\ML Ja TI_( EPQ[ QVKT]LM[ QVNWZUI\QWV _M OM\ NZWU aW] IVL
W\PMZ[( <\ IT[W QVKT]LM[ QVNWZUI\QWV IJW]\ aW]Z \ZIV[IK\QWV[
_Q\P ][( BTMI[M [MM W]Z BZQ^IKa @W\QKM NWZ LM\IQT[ IJW]\ W]Z
QVNWZUI\QWV [PIZQVO XZIK\QKM[(
             ,@:D?=H IE I@AH *?G==C=DI
;A I=U ?D=JCA PDA N=PAO# BAAO# =J@ PANIO KB PDEO 'CNAA$
IAJP BNKI PEIA PK PEIA =O LANIEPPA@ >U H=S% 8DA ?D=JCAO
I=U =@@# NALH=?A# KN NAIKRA LNKREOEKJO KB PDEO 'CNAAIAJP%
;A SEHH CERA UKQ =@R=J?A SNEPPAJ JKPE?A KB PDA ?D=JCAO
=J@ = NECDP PK KLP KQP PK PDA ATPAJP NAMQENA@ >U H=S%
                            -=>:JBI
HW] LMNI]T\ ]VLMZ \PQ[ 5OZMMUMV\ QN aW] NIQT \W XIa \PM ?QVQ'
U]U BIaUMV\ 8]M Ja Q\[ L]M LI\M4 OW W^MZ aW]Z KZMLQ\ TQUQ\4
XIa Ja I KPMKS WZ [QUQTIZ QV[\Z]UMV\ \PI\ Q[ VW\ PWVWZML WZ
\PI\ _M U][\ ZM\]ZV JMKI][M Q\ KIVVW\ JM XZWKM[[ML4 XIa Ja
MTMK\ZWVQK LMJQ\ \PI\ Q[ ZM\]ZVML ]VXIQL4 NQTM NWZ JIVSZ]X\Ka4
WZ NIQT \W KWUXTa _Q\P \PM \MZU[ WN \PQ[ 5OZMMUMV\( <N aW] LM'
NI]T\& _M UIa KTW[M aW]Z IKKW]V\ IVL& \W \PM M`\MV\ XMZUQ\\ML
Ja TI_& LMUIVL QUUMLQI\M XIaUMV\ WN \PM \W\IT JITIVKM(
     5=>JH:B E> I@= ,:G<" ,BEH=< *;;EJDIH"
            :D< 5=B:I=< 4GEKAHAEDH
6ABQO=H KB PDA )=N@% GM LW VW\ O]IZIV\MM IXXZW^IT WN
\ZIV[IK\QWV[( GM IZM VW\ TQIJTM NWZ \ZIV[IK\QWV[ \PI\ IZM VW\
IXXZW^ML( EPI\ Q[ \Z]M M^MV QN aW] PI^M MVW]OP KZMLQ\( GM
UIa TQUQ\ \PM V]UJMZ WN \ZIV[IK\QWV[ IXXZW^ML QV WVM LIa(
<N _M LM\MK\ ]V][]IT WZ [][XQKQW][ IK\Q^Q\a& _M UIa [][XMVL
aW]Z KZMLQ\ XZQ^QTMOM[(
5NA=QPDKNEVA@ )D=NCAO% GM UIa [][XMVL IVa I]\WUI\QK WZ
W\PMZ XZMI]\PWZQbML KIZL KPIZOM[ aW] IZZIVOM _Q\P I \PQZL
XIZ\a( GM UIa LW \PQ[ QN aW] LMNI]T\4 QN \PM KIZL Q[ TW[\ WZ
[\WTMV4 WZ _M KPIVOM aW]Z IKKW]V\ NWZ IVa ZMI[WV( <N _M LW
                                                                ,
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\PQ[& aW] IZM ZM[XWV[QJTM NWZ XIaQVO \PM \PQZL XIZ\a LQZMK\Ta QN
aW] _Q[P \W LW [W( HW] IZM IT[W ZM[XWV[QJTM NWZ ZMQV[\I\QVO \PM
XZMI]\PWZQbML KPIZOM[ QN aW] _Q[P \W LW [W IVL _M XMZUQ\ Q\(
1KOP KN 7PKHAJ )=N@O# 5KKW]V\ @]UJMZ[& WZ 7WV^MVQMVKM
7PMKS[( HW] U][\ KITT ][ QN IVa KIZL& IKKW]V\ V]UJMZ& WZ
KPMKS Q[ TW[\ WZ [\WTMV( HW] U][\ IT[W KITT ][ QN aW] \PQVS
[WUMWVM ][ML WZ UIa ][M \PMU _Q\PW]\ XMZUQ[[QWV( GPMV
aW] KITT& _M UIa ZMY]QZM aW] \W XZW^QLM QVNWZUI\QWV \W PMTX
W]Z QV^M[\QOI\QWV( GM UIa ZMY]QZM aW] \W XZW^QLM \PQ[ QVNWZ'
UI\QWV QV _ZQ\QVO( :WZ M`IUXTM& _M UIa I[S aW] \W QLMV\QNa
IVa KPIZOM[ \PI\ _MZM VW\ UILM Ja aW] WZ [WUMWVM I]\P'
WZQbML Ja aW]( GM UIa IT[W I[S aW] \W KWVNQZU \PI\ aW]
ZMKMQ^ML VW JMVMNQ\ NZWU \PW[M KPIZOM[(
)HKOEJC <KQN '??KQJP% HW] UIa KTW[M aW]Z IKKW]V\ Ja VW\QNa'
QVO ][ QV _ZQ\QVO WZ W^MZ \PM XPWVM( <N aW] KTW[M aW]Z IKKW]V\&
aW] U][\ [\QTT ZMXIa \PM \W\IT JITIVKM QV IKKWZLIVKM _Q\P \PQ[
5OZMMUMV\( GM UIa IT[W KTW[M aW]Z IKKW]V\ WZ [][XMVL IK'
KW]V\ XZQ^QTMOM[ I\ IVa \QUM NWZ IVa ZMI[WV( GM UIa LW \PQ[
_Q\PW]\ XZQWZ VW\QKM \W aW]( GM UIa IT[W ZMQ[[]M I LQNNMZMV\
KIZL I\ IVa \QUM( HW] U][\ ZM\]ZV IVa KIZL \W ][ ]XWV ZMY]M[\(

                    *5+/75*7/32
0,'$2' 1'$& 3*+2 01/5+2+/. /( 3*' $)1''-'.3
%$1'(4,,6" /8 564:/*+7 8.'8 '3< */7598+ 2'< (+
6+741:+* (< (/3*/3- '6(/86'8/43% '6(/86'8/43
6+51')+7 8.+ 6/-.8 84 -4 84 )4968# /3)19*/3- 8.+
6/-.8 84 ' 096< '3* 8.+ 6/-.8 84 /3/8/'8+ 46 5'6$
8/)/5'8+ /3 ' )1'77 ')8/43 46 7/2/1'6 564)++*/3-%
/3 '6(/86'8/43# ' */7598+ /7 6+741:+* (< '3
'6(/86'846 /378+'* 4, ' 09*-+ 46 096<% '6(/86'$
8/43 564)+*96+7 '6+ 7/251+6 '3* 246+ 1/2/8+*
8.'3 )4968 564)+*96+7%
$<B;;?;@D DA $B8>DB7D;# 9Q\PMZ aW] WZ _M UIa& _Q\PW]\
\PM W\PMZ#[ KWV[MV\& MTMK\ UIVLI\WZa& JQVLQVO IZJQ\ZI\QWV
NWZ IVa KTIQU& LQ[X]\M& WZ KWV\ZW^MZ[a JM\_MMV aW] IVL ][
$KITTML c7TIQU[e%(
                    #)%(*- #+.','&
;D=P )H=EIO =NA OQ>FA?P PK =N>EPN=PEKJ& 5TT 7TIQU[ ZMTI\QVO
\W aW]Z IKKW]V\& I XZQWZ ZMTI\ML IKKW]V\& WZ W]Z ZMTI\QWV[PQX
IZM []JRMK\ \W IZJQ\ZI\QWV& QVKT]LQVO 7TIQU[ ZMOIZLQVO \PM
IXXTQKI\QWV& MVNWZKMIJQTQ\a& WZ QV\MZXZM\I\QWV WN \PQ[ 5OZMMUMV\
IVL \PQ[ IZJQ\ZI\QWV XZW^Q[QWV( 5TT 7TIQU[ IZM []JRMK\ \W IZJQ'
\ZI\QWV& VW UI\\MZ _PI\ TMOIT \PMWZa \PMa IZM JI[ML WV WZ _PI\
ZMUMLa $LIUIOM[& WZ QVR]VK\Q^M WZ LMKTIZI\WZa ZMTQMN% \PMa
[MMS( EPQ[ QVKT]LM[ 7TIQU[ JI[ML WV KWV\ZIK\& \WZ\ $QVKT]LQVO
QV\MV\QWVIT \WZ\%& NZI]L& IOMVKa& aW]Z WZ W]Z VMOTQOMVKM&
[\I\]\WZa WZ ZMO]TI\WZa XZW^Q[QWV[& WZ IVa W\PMZ [W]ZKM[ WN
TI_4 7TIQU[ UILM I[ KW]V\MZKTIQU[& KZW[['KTIQU[& \PQZL'

                                                            $#
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WHY[` JSHPTZ% PU[LYWSLHKLYZ VY V[OLY^PZL3 HUK 6SHPTZ THKL
PUKLWLUKLU[S` VY ^P[O V[OLY JSHPTZ' 4 WHY[` ^OV PUP[PH[LZ H
WYVJLLKPUN PU JV\Y[ TH` LSLJ[ HYIP[YH[PVU ^P[O YLZWLJ[ [V HU`
6SHPT HK]HUJLK PU [OH[ WYVJLLKPUN I` HU` V[OLY WHY[`' 6SHPTZ
HUK YLTLKPLZ ZV\NO[ HZ WHY[ VM H JSHZZ HJ[PVU% WYP]H[L H[[VY&
UL` NLULYHS VY V[OLY YLWYLZLU[H[P]L HJ[PVU HYL Z\IQLJ[ [V
HYIP[YH[PVU VU HU PUKP]PK\HS #UVU&JSHZZ% UVU&YLWYLZLU[H[P]L$
IHZPZ% HUK [OL HYIP[YH[VY TH` H^HYK YLSPLM VUS` VU HU PUKP]PK&
\HS #UVU&JSHZZ% UVU&YLWYLZLU[H[P]L$ IHZPZ'
6?FI< (C8@DI 8H< IK9A<:J JF 8H9@JH8J@FE% ?V[ VUS` V\YZ HUK
`V\YZ% I\[ HSZV 6SHPTZ THKL I` VY HNHPUZ[ HU`VUL JVUULJ[LK
^P[O \Z VY `V\ VY JSHPTPUN [OYV\NO \Z VY `V\% Z\JO HZ H JV&
HWWSPJHU[ VY H\[OVYPaLK \ZLY VM `V\Y HJJV\U[% HU LTWSV`LL%
HNLU[% YLWYLZLU[H[P]L% HMMPSPH[LK JVTWHU`% WYLKLJLZZVY VY
Z\JJLZZVY% OLPY% HZZPNULL% VY [Y\Z[LL PU IHURY\W[J`'
6?8J J@D< =H8D< 8GGC@<I JF (C8@DI IK9A<:J JF 8H9@JH8J@FE%
6SHPTZ HYPZPUN PU [OL WHZ[% WYLZLU[% VY M\[\YL% PUJS\KPUN 6SHPTZ
HYPZPUN ILMVYL [OL VWLUPUN VM `V\Y HJJV\U[% HYL Z\IQLJ[ [V
HYIP[YH[PVU'
'HF8;<IJ @EJ<HGH<J8J@FE# 4U` X\LZ[PVUZ HIV\[ ^OL[OLY 6SHPTZ
HYL Z\IQLJ[ [V HYIP[YH[PVU ZOHSS IL YLZVS]LK I` PU[LYWYL[PUN [OPZ
HYIP[YH[PVU WYV]PZPVU PU [OL IYVHKLZ[ ^H` [OL SH^ ^PSS HSSV^ P[
[V IL LUMVYJLK' COPZ HYIP[YH[PVU WYV]PZPVU PZ NV]LYULK I` [OL
9LKLYHS 4YIP[YH[PVU 4J[ #[OL b944d$'
6?8J 89FKJ (C8@DI =@C<; @E 4D8CC (C8@DI (FKHJ% 6SHPTZ MPSLK
PU H ZTHSS JSHPTZ JV\Y[ HYL UV[ Z\IQLJ[ [V HYIP[YH[PVU% ZV SVUN
HZ [OL TH[[LY YLTHPUZ PU Z\JO JV\Y[ HUK HK]HUJLZ VUS` HU
PUKP]PK\HS #UVU&JSHZZ% UVU&YLWYLZLU[H[P]L$ 6SHPT'
6?8J 89FKJ ;<9J :FCC<:J@FEI% FL HUK HU`VUL [V ^OVT ^L
HZZPNU `V\Y KLI[ ^PSS UV[ PUP[PH[L HU HYIP[YH[PVU WYVJLLKPUN [V
JVSSLJ[ H KLI[ MYVT `V\ \USLZZ `V\ HZZLY[ H 6SHPT HNHPUZ[ \Z
VY V\Y HZZPNULL' FL HUK HU` HZZPNULL TH` ZLLR HYIP[YH[PVU
VU HU PUKP]PK\HS IHZPZ VM HU` 6SHPT HZZLY[LK I` `V\% ^OL[OLY
PU HYIP[YH[PVU VY HU` WYVJLLKPUN% PUJS\KPUN PU H WYVJLLKPUN [V
JVSSLJ[ H KLI[' GV\ TH` ZLLR HYIP[YH[PVU VU HU PUKP]PK\HS IHZPZ
VM HU` 6SHPT HZZLY[LK HNHPUZ[ `V\% PUJS\KPUN PU H WYVJLLKPUN
[V JVSSLJ[ H KLI['
                $39 "4*.64)6.32 (34/5
-FM ;F<I 8 G8HJN @E@J@8J< 8H9@JH8J@FE% COL WHY[` MPSPUN HU
HYIP[YH[PVU T\Z[ JOVVZL VUL VM [OL MVSSV^PUN [^V HYIP[YH[PVU
MPYTZ HUK MVSSV^ P[Z Y\SLZ HUK WYVJLK\YLZ MVY PUP[PH[PUN HUK
W\YZ\PUN HU HYIP[YH[PVU2 4TLYPJHU 4YIP[YH[PVU 4ZZVJPH[PVU VY
<4>B' 4U` HYIP[YH[PVU OLHYPUN [OH[ `V\ H[[LUK ^PSS IL OLSK
H[ H WSHJL JOVZLU I` [OL HYIP[YH[PVU MPYT PU [OL ZHTL JP[` HZ
[OL D'B' 7PZ[YPJ[ 6V\Y[ JSVZLZ[ [V `V\Y [OLU J\YYLU[ IPSSPUN
HKKYLZZ% VY H[ ZVTL V[OLY WSHJL [V ^OPJO `V\ HUK ^L HNYLL PU
^YP[PUN' GV\ TH` VI[HPU JVWPLZ VM [OL J\YYLU[ Y\SLZ VM LHJO VM

                                                             &&
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[OL HYIP[YH[PVU MPYTZ HUK MVYTZ HUK PUZ[Y\J[PVUZ MVY PUP[PH[PUN
HU HYIP[YH[PVU I` JVU[HJ[PUN [OLT HZ MVSSV^Z2
        4TLYPJHU 4YIP[YH[PVU 4ZZVJPH[PVU
        0))&//0&/0/1 #[VSS&MYLL$
        FLIZP[L2 ^^^'HKY'VYN
        <4>B
        0))&,-+&-+./ #[VSS&MYLL$
        FLIZP[L2 ^^^'QHTZHKY'JVT
4[ HU` [PTL `V\ VY ^L TH` HZR HU HWWYVWYPH[L JV\Y[ [V JVT&
WLS HYIP[YH[PVU VM 6SHPTZ% VY [V Z[H` [OL SP[PNH[PVU VM 6SHPTZ
WLUKPUN HYIP[YH[PVU% L]LU PM Z\JO 6SHPTZ HYL WHY[ VM H SH^Z\P[%
\USLZZ H [YPHS OHZ ILN\U VY H MPUHS Q\KNTLU[ OHZ ILLU LU[LYLK'
8]LU PM H WHY[` MHPSZ [V L_LYJPZL [OLZL YPNO[Z H[ HU` WHY[PJ\SHY
[PTL% VY PU JVUULJ[PVU ^P[O HU` WHY[PJ\SHY 6SHPTZ% [OH[ WHY[`
JHU Z[PSS YLX\PYL HYIP[YH[PVU H[ H SH[LY [PTL VY PU JVUULJ[PVU
^P[O HU` V[OLY 6SHPTZ'
6?8J GHF:<;KH<I 8E; C8M 8H< 8GGC@:89C< @E 8H9@JH8J@FE%
4 ZPUNSL% UL\[YHS HYIP[YH[VY ^PSS YLZVS]L 6SHPTZ' COL HYIP[YH[VY
^PSS IL LP[OLY H SH^`LY ^P[O H[ SLHZ[ [LU `LHYZ L_WLYPLUJL VY H
YL[PYLK VY MVYTLY Q\KNL% ZLSLJ[LK PU HJJVYKHUJL ^P[O [OL Y\SLZ
VM [OL HYIP[YH[PVU MPYT' COL HYIP[YH[PVU ^PSS MVSSV^ WYVJLK\YLZ
HUK Y\SLZ VM [OL HYIP[YH[PVU MPYT PU LMMLJ[ VU [OL KH[L [OL HYIP&
[YH[PVU PZ MPSLK \USLZZ [OVZL WYVJLK\YLZ HUK Y\SLZ HYL PUJVU&
ZPZ[LU[ ^P[O [OPZ 4NYLLTLU[% PU ^OPJO JHZL [OPZ 4NYLLTLU[
^PSS WYL]HPS' COVZL WYVJLK\YLZ HUK Y\SLZ TH` SPTP[ [OL KPZJV]&
LY` H]HPSHISL [V `V\ VY \Z' COL HYIP[YH[VY ^PSS [HRL YLHZVUHISL
Z[LWZ [V WYV[LJ[ J\Z[VTLY HJJV\U[ PUMVYTH[PVU HUK V[OLY
JVUMPKLU[PHS PUMVYTH[PVU PM YLX\LZ[LK [V KV ZV I` `V\ VY \Z'
COL HYIP[YH[VY ^PSS HWWS` HWWSPJHISL Z\IZ[HU[P]L SH^ JVUZPZ[LU[
^P[O [OL 944 HUK HWWSPJHISL Z[H[\[LZ VM SPTP[H[PVUZ% ^PSS OVUVY
JSHPTZ VM WYP]PSLNL YLJVNUPaLK H[ SH^% HUK ^PSS OH]L [OL WV^LY
[V H^HYK [V H WHY[` HU` KHTHNLZ VY V[OLY YLSPLM WYV]PKLK MVY
\UKLY HWWSPJHISL SH^' GV\ VY ^L TH` JOVVZL [V OH]L H OLHY&
PUN HUK IL YLWYLZLU[LK I` JV\UZLS' COL HYIP[YH[VY ^PSS THRL
HU` H^HYK PU ^YP[PUN HUK% PM YLX\LZ[LK I` `V\ VY \Z% ^PSS
WYV]PKL H IYPLM Z[H[LTLU[ VM [OL YLHZVUZ MVY [OL H^HYK' 4U
H^HYK PU HYIP[YH[PVU ZOHSS KL[LYTPUL [OL YPNO[Z HUK VISPNH[PVUZ
IL[^LLU [OL UHTLK WHY[PLZ VUS`% HUK VUS` PU YLZWLJ[ VM [OL
6SHPTZ PU HYIP[YH[PVU% HUK ZOHSS UV[ OH]L HU` ILHYPUN VU [OL
YPNO[Z HUK VISPNH[PVUZ VM HU` V[OLY WLYZVU% VY VU [OL YLZVS\&
[PVU VM HU` V[OLY KPZW\[L'
6?F G8NI% FOVL]LY MPSLZ [OL HYIP[YH[PVU WH`Z [OL PUP[PHS MPSPUN
MLL' ;M ^L MPSL% ^L WH`3 PM `V\ MPSL% `V\ WH`% \USLZZ `V\ NL[ H
MLL ^HP]LY \UKLY [OL HWWSPJHISL Y\SLZ VM [OL HYIP[YH[PVU MPYT'
;M `V\ OH]L WHPK [OL PUP[PHS MPSPUN MLL HUK `V\ WYL]HPS% ^L ^PSS
YLPTI\YZL `V\ MVY [OH[ MLL' ;M [OLYL PZ H OLHYPUN% ^L ^PSS WH`
HU` MLLZ VM [OL HYIP[YH[VY HUK HYIP[YH[PVU MPYT MVY [OL MPYZ[ KH`
VM [OH[ OLHYPUN' 4SS V[OLY MLLZ ^PSS IL HSSVJH[LK HZ WYV]PKLK I`

                                                             &'
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[OL Y\SLZ VM [OL HYIP[YH[PVU MPYT HUK HWWSPJHISL SH^' :V^L]LY%
^L ^PSS HK]HUJL VY YLPTI\YZL `V\Y MLLZ PM [OL HYIP[YH[PVU MPYT
VY HYIP[YH[VY KL[LYTPULZ [OLYL PZ NVVK YLHZVU MVY YLX\PYPUN
\Z [V KV ZV% VY PM `V\ HZR \Z HUK ^L KL[LYTPUL [OLYL PZ NVVK
YLHZVU MVY KVPUN ZV' 8HJO WHY[` ^PSS ILHY [OL L_WLUZL VM
[OH[ WHY[`"Z H[[VYUL`Z% L_WLY[Z% HUK ^P[ULZZLZ% HUK V[OLY
L_WLUZLZ% YLNHYKSLZZ VM ^OPJO WHY[` WYL]HPSZ% I\[ H WHY[`
TH` YLJV]LY HU` VY HSS L_WLUZLZ MYVT HUV[OLY WHY[` PM [OL
HYIP[YH[VY% HWWS`PUN HWWSPJHISL SH^% ZV KL[LYTPULZ'
6?F :8E 9< 8 G8HJN% 6SHPTZ T\Z[ IL IYV\NO[ PU [OL UHTL
VM HU PUKP]PK\HS WLYZVU VY LU[P[` HUK T\Z[ WYVJLLK VU HU
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             Case: 5:23-cv-00375-CEF Doc #: 1 Filed: 02/24/23 27 of 39. PageID #: 27

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             Case: 5:23-cv-00375-CEF Doc #: 1 Filed: 02/24/23 28 of 39. PageID #: 28
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              Case: 5:23-cv-00375-CEF Doc #: 1 Filed: 02/24/23 29 of 39. PageID #: 29
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              Case: 5:23-cv-00375-CEF Doc #: 1 Filed: 02/24/23 30 of 39. PageID #: 30


Egan, Shannon

From:                          Marvin L Parms <                           >
Sent:                          Tuesday, January 24, 2023 5:22 PM                        Exhibit
To:                            Egan, Shannon; 'ProSeManager2@adr.org'                     4
Cc:                            Cappel, Harry
Subject:                       RE: Marvin Parms v. Citibank - Case 01-21-0017-6088

Importance:                    High



Marvin Parms
1964 Hibbard Drive
Stow, Ohio 44224


Pro Se Arbitration Administration Team
ProSeManager2@adr.org
Po Box 19609, Johnston, RI 02919

Pro Se Manger 2

Re: Case Marvin Parms v. Citibank, N.A
Case Number 01-21-0017-6088

MODIFICATION OF AN AWARD BY AN ARBITRATOR

OVERRULING OF ARBITRATOR'S AWARD

Mr. Parms Charging Pary Ward as stated in Responded email has been place in a credit card account, which
is not consistent with AAA Rules, Charging Party did not understand the W-9 and only signed and dated the
first form, after Responded explain the appropriate procedure Chargiing Party as you can see from the last
W-9 it was completed as requested, from 1-7

                             CONCERNING THIS AWARD

THE WARD IS NOT BASE ON THE DAMAGES OR HARM AS TO CHARGING PARTY CREDIT
REPORT, LOWERING BOTH CREDIT ACOUNTS, LOAN APPROVAL AT A LOWER RATE, OF
INTEREST ON LOAN MORTGAGE APPLICATION

CHARGING PARTY COUNTERCLAIM WAS FOR 1.1 MILLION RESPONDENTS AT ONE POINT
HAD STATED 1,000, CHARGING PARTY WILL BE ATTACKING AN ARBITRATION AWARD
UNDER COMMON LAW; THAT LIST THE FOLLOWING THEY INCLUDE FRAUD, MISCONDUCT,
AND GROSS UNFAIRMESS BY THE ARBITRATOR

                           CHARGING PARTY CONCERNS

IT APPEARS THAT THE ARBITRATOR SUBSTITUTED HIS JUDGMENT FOR THAT OF THE
OTHER PARTIES, THE AWARD DOES NOT DRAW ITS ESSENCE FROM THE CONTRACT THE
AWARD CONTAINS MATERIAL ERROR AND THE AWARD IS AGAINST PUBLIC LAW OR
POLICY, ARBITRATOR SUBSTITUTED HIS JUDGMENT FOR THOSE OF MANAGEMENT AND
NOT FOR CHARGING PARTY, CREDIT CARD CUSTOMER

AS WELL ARBITRATORS EXCEEDED HIS AUTUORITY UNDER AAA RULE
                                                      1
                                                                        Case: 5:23-cv-00375-CEF Doc #: 1 Filed: 02/24/23 31 of 39. PageID #: 31


UNDER AAA RULE A MODIFICATION MUST BE ASKED FOR WITHIN (20) DAYS AFTER THE
FINAL AWARD IS SENT TO THE PARTIES, THE OTHER PART WILL BE GIVEN (10) DAYS TO
RESPOND TO THE REQUEST, THE ARBITRATOR WILL THEN RULE ON THE REQUEST WITHIN
(20) DAYS

CHARGING PART WILL BE AT THIS TIME REQUESTING AND EXERCISING THE RIGHT TO
MODIFICATION OF THAT AWARD OF 280.78 WHICH IS UNACCEPTABLE,

Thank, You

Charging Party /Marvin Parms

-----------------------------------------

From: "Egan, Shannon"
To: "Marvin L Parms"
Cc: Harry", Shannon"
Sent: Wednesday January 11 2023 1:21:05PM
Subject: RE: Marvin Parms v. Citibank - Case 01-21-0017-6088

Mr. Parms – thank you for faxing the IRS W-9 form. Unfortunately, it is not complete. Please complete sections 1 –
7 and return the form to me. I have attached a blank Form W-9 that is highlighted showing the portions that must
be completed in addition to Parts I and II. Thank you, Shannon Egan



    The linked image cannot be displayed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.




Shannon Egan
Of Counsel
Dinsmore & Shohl LLP • Legal Counsel
255 East Fifth Street, Suite 1900, Cincinnati, OH 45202
T (513) 977-8261 • F (513) 977-8141


From: Marvin L Parms <                            >
Sent: Friday, January 6, 2023 4:27 PM
To: Egan, Shannon <Shannon.Egan@DINSMORE.COM>
Cc: Cappel, Harry <Harry.Cappel@DINSmore.COM>
Subject: RE: FW: Marvin Parms v. Citibank - Case 01-21-0017-6088
Importance: High




Shannon Egan




Mr. Parms will sign, and Fax as requested, but will respond appropriately after check has been forwarded,
within (20) days to AAA, Rule, keep in mind the Best Buy Credit Card Agreement, Citibank, N.A.
Customer Rights Policy, as well Citibank, N.A. Card Agreement Guide, Christy, Bennett, Shannon
O'Connell was never or not a part of Mr. Parms demand for arbitration, this violation will be address in a
deferent manner
                                                                                                                                                             2
                                                                        Case: 5:23-cv-00375-CEF Doc #: 1 Filed: 02/24/23 32 of 39. PageID #: 32



Thank, You



Marvin Parms

-----------------------------------------

From: "Egan, Shannon"
To: "Marvin L Parms"
Cc: Harry", Shannon"
Sent: Tuesday January 3 2023 9:32:53AM
Subject: FW: Marvin Parms v. Citibank - Case 01-21-0017-6088

Dear Mr. Parms:




For Citibank, N.A. to pay the Arbitrator’s Award to you via check, it must have a completed IRS Form W-9. For your
convenience, I have attached a Form W-9 and highlighted the portions that must be completed. Upon receiving the
completed Form W-9, I will ask Citibank, N.A. to prepare a check made payable to you in the amount of $280.78 (the
amount of the Award).




If you prefer, or if you choose not to provide the Form W-9, Citibank, N.A. will apply a credit in the amount of $280.78
(the amount of the Award) to your My Best Buy credit card account ending in 4853. Thank you.




    The linked image cannot be displayed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.




Shannon Egan
Of Counsel
Dinsmore & Shohl LLP • Legal Counsel
255 East Fifth Street, Suite 1900, Cincinnati, OH 45202
T (513) 977-8261 • F (513) 977-8141




From: ProSeManager2@adr.org <ProSeManager2@adr.org>
Sent: Friday, December 23, 2022 2:35 PM
To: Egan, Shannon <Shannon.Egan@DINSMORE.COM>;
Cc: Cappel, Harry <Harry.Cappel@DINSmore.COM>
Subject: Marvin Parms v. Citibank - Case 01-21-0017-6088




                                                                                                                                                             3
                                              Case: 5:23-cv-00375-CEF Doc #: 1 Filed: 02/24/23 33 of 39. PageID #: 33

Hello,

Please review the attached correspondence regarding the above-referenced case.

Feel free to contact me with any questions, comments or concerns you have related to this matter.

Thank you.



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      The file may have been moved,
      renamed, or deleted. Verify that the
      link points to the correct file and
      location.                                Pro Se Manager 2
                                               Pro Se Manager of ADR Services

                                               Pro Se Arbitration Administration Team                                                  The linked image cannot be displayed. The file may have been moved, renamed, or deleted. Verify that
                                                                                                                                       the link points to the correct file and location.




                                               F: 866 644 0234 E: ProSeManager2@adr.org
                                               PO Box 19609, Johnston, RI 02919
                                               www.adr.org/prose



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in error, please notify me immediately by reply email and destroy all copies of the transmittal. Thank you.




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receipt by, any unauthorized persons. If you have received this electronic mail transmission in
error, please delete it from your system without copying it, and notify the sender by reply e-mail, so
that our address record can be corrected.




                                                                                          4
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                                                                                    Exhibit
                        AMERICAN ARBITRATION ASSOCIATION                               5

 MARVIN L. PARMS,
                                              CASE NO. 01-21-0017-6088
                                Claimant,

                 v.                           NOTICE OF PAYMENT OF AWARD

 CITIBANK, N.A.,

                                Respondent.



          Respondent Citibank, N.A., (“Citibank”) provides notice of payment of the Award of

Arbitrator, and further states as follows:

          On December 23, 2022, an Award of Arbitrator was issued in favor of Claimant Marvin

Parms (“Parms”) in the sum of $280.78 (the “Award”). On January 3, 2023, the undersigned

counsel for Citibank requested that Parms sign and return an IRS Form W-9, which is required for

Citibank to issue a check. Parms has refused to provide a properly completed IRS Form W-9. On

or about January 13, 2023, Parms provided the attached. See Exhibit A hereto. For this reason,

and in lieu of a check to Parms, Citibank applied a credit in the amount of the Award to Parms’

Best Buy card account ending in 4853, resulting in a credit balance of $280.78. See Exhibit B

hereto.

                                                   Respectfully submitted,

                                                   /s/ Shannon O’Connell Egan
                                                   Shannon O’Connell Egan, Esq.
                                                   Harry W. Cappel, Esq.
                                                   DINSMORE & SHOHL LLP
                                                   255 East Fifth Street, Suite 1900
                                                   Cincinnati, Ohio 45202
                                                   Tel: (513) 977-8261
                                                   Fax: (513) 977-8141
                                                   Email: shannon.egan@dinsmore.com
                                                           harry.cappel@dinsmore.com
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       Case: 5:23-cv-00375-CEF Doc #: 1 Filed: 02/24/23 35 of 39. PageID #: 35




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing was electronically filed this 24th day of
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Egan, Shannon
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